     Case 16-13291-MBK             Doc 173 Filed 06/14/19 Entered 06/15/19 00:39:31                        Desc
                                 Imaged Certificate of Notice Page 1 of 5
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 16−13291−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Michael Joseph Agolia                                    Lisa Rossi
   315 Maria Drive                                          5 Everette Court
   Toms River, NJ 08753                                     Caldwell, NJ 07006
Social Security No.:
   xxx−xx−1459                                              xxx−xx−0979
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on June 12, 2019.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within five (5) days from
the date of this Order.




Dated: June 12, 2019
JAN: wir

                                                                   Jeanne Naughton
                                                                   Clerk
         Case 16-13291-MBK          Doc 173 Filed 06/14/19 Entered 06/15/19 00:39:31                  Desc
                                  Imaged Certificate of Notice Page 2 of 5
                                       United States Bankruptcy Court
                                          District of New Jersey
In re:                                                                                  Case No. 16-13291-MBK
Michael Joseph Agolia                                                                   Chapter 13
Lisa Rossi
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0312-3           User: admin                  Page 1 of 4                   Date Rcvd: Jun 12, 2019
                               Form ID: 148                 Total Noticed: 108


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 14, 2019.
db             +Michael Joseph Agolia,     315 Maria Drive,    Toms River, NJ 08753-2440
jdb            +Lisa Rossi,    5 Everette Court,    Caldwell, NJ 07006-8022
cr            #+Claudio Ricardo Da Costa Menezes,      Robert Wisniewski P.C.,    225 Broadway,
                 New York, NY 10007-3710
cr            #+Diego Batista-Santos,     Robert Wisniewski P.C.,    225 Broadway,    New York, NY 10007-3710
cr            #+Giancarlo Batista-Santos,     Robert Wisniewski P.C.,    225 Broadway,     New York, NY 10007-3710
cr            #+Ivonaldo Brito Andrade,     Robert Wisniewski P.C.,    225 Broadway,     New York, NY 10007-3710
cr             +Kearny Bank,    c/o Mark A. Wenczel, Esq.,     524 Union Avenue,    Belleville, NJ 07109-2263
cr            #+Marcio Ribeiro,    Robert Wisniewski P.C.,     225 Broadway,    New York, NY 10007-3710
cr              TD Retail Card Services,     P.O. Box 800849,    Dallas, TX 75380-0849
cr             +Toyota Motor Credit Corporation,      C/O Buckley Madole, P.C.,    99 Wood Avenue South, Suite 803,
                 Iselin, NJ 08830-2713
516016456      +Amexdsnb,    9111 Duke Blvd.,    Mason, OH 45040-8999
516464658      +Andres Hernandez,    Att: Andrew Glenn,     168 Franklin Corner Rd,    Lawrenceville, NJ 08648-2529
516478307      +Andres Hernandez,    att: Andrew I. Glenn, PA,     168 Franklin Corner Road,
                 Lawrenceville, NJ 08648-2529
516503862      +Atkinson & DeBartolo, P.C.,     P.O. Box 8415,    Red Bank, NJ 07701-8415
516503978      +Atkinson & DeBartolo, PC,     P.O. Box 8415,    Red Bank, NJ 07701-8415
516016458      +Blmdsnb,    9111 Duke Blvd.,    Mason, OH 45040-8999
516016459      +Bloomingdales,    PO Box 78008,    Phoenix, AZ 85062-8008
516503820      +Bunce D. Atkinson Chap 7 Trustee,      Atkinson & DeBartolo, P.C.,    P.O. Box 8415,
                 Red Bank, NJ 07701-8415
516016462      +CNBA,    50 Northwest Point Rd.,    Elk Grove Village, IL 60007-1032
516478311     #+Claudio Ricardo,    attn: Robert Wisniewski, PC,     225 Broadway, Suite 1020,
                 New York, NY 10007-3710
516553349      +Claudio Ricardo Da Costa Menezes,      Attn: Robert Wisniewski,    225 Broadway, Suite 1020,
                 New York, New York 10007-3710
516553348      +Claudio Ricardo Da Costa Menezes,      389 Delano Place, 1st Floor,    Fairview, NJ 07022-1703
516428950     #+Claudio Ricardo De Costa Menezes,      Att: Robert Wisniewski P.C.,    225 Broadway Suite 1020,
                 New York, NY 10007-3710
516319215       Department Store National Bank,     c/o Quantum3 Group LLC,     PO Box 657,
                 Kirkland, WA 98083-0657
516428947     #+Diego Batista-Santos,     Att: Robert Wisniewski P.C.,    225 Broadway Suite 1020,
                 New York, NY 10007-3710
516478312     #+Diego Batista-Santos,     attn: Robert Wisniewski, PC,    225 Broadway, Suite 1020,
                 New York, NY 10007-3710
516016466       Disney Vacation Dev. Inc.,     PO Box 470727,    Wilmington, DE 19850
516478313      +Disney Vacation Development,     200 Celebration Place,    Suite 22,     Kissimmee, FL 34747-5483
516016465      +Disney Vacation Development, Inc.,      200 Celebration Place,    Ste 2,    Kissimmee, FL 34747-5483
516428948     #+Giancarlo Batista-Santos,     Att: Robert Wisniewski P.C.,     225 Broadway Suite 1020,
                 New York, NY 10007-3710
516478314     #+Giancarlo Batista-Santos,     attn: Robert Wisniewski, PC,     225 Broadway, Suite 1020,
                 New York, NY 10007-3710
516428949     #+Ivonaldo Brito Andrade,     Att: Robert Wisniewski P.C.,     225 Broadway Suite 1020,
                 New York, NY 10007-3710
516478315     #+Ivonaldo Brito Andrade,     attn: Robert Wisniewski, PC,     225 Broadway, Suite 1020,
                 New York, NY 10007-3710
516322733      +Kearny Bank,    Gaccione Pomaco, P.C.,     Mark A Wenczel, Esq,     524 Union Avenue,
                 Belleville, NJ 07109-2263
516016468      +Kearny Federal Savings Loan,     120 Passaic Ave.,    Fairfield, NJ 07004-3523
516016470     ++LAKELAND BANK,    250 OAK RIDGE ROAD,     OAK RIDGE NJ 07438-8998
               (address filed with court: Lakeland Bank,       250 Oak Ridge Rd.,    Oak Ridge, NJ 07438)
516016471      +Macys,    PO box 78008,    Phoenix, AZ 85062-8008
516478317     #+Marcio Ribeiro,    attn: Robert Wisniewski, PC,     225 Broadway, Suite 1020,
                 New York, NY 10007-3710
516428942     #+Marcio Ribiero,    att: Robert Wisniewski P.C.,     225 Broadway Suite 1020,
                 New York, NY 10007-3710
516016477      +Raymour & Flanigan,     PO Box 33802,    Detroit, MI 48232-5802
516016479      +State of NJ Div. of Emp. Acc,     PO box 059,    Trenton, NJ 08646-0001
516016480      +State of NJ Div. of Taxation,     PO Box 1008,    Moorestown, NJ 08057-0908
516521677      +TD Retail Card Services,     c/o Creditors Bankruptcy Service,     P O Box 800849,
                 Dallas, TX 75380-0849
516536557      +Toyota Lease Trust,     c/o Toyota Motor Credit Corporation,     PO Box 9013,
                 Addison, Texas 75001-9013
516016485      +US Dept. of Labor/Wage & Hour Div.,      The Curtis Center Ste. 850 West,
                 170 S. Independence Mall West,     Philadelphia, PA 19106-3389
516464661      +Wage Hour Division,     Long Island District Office,    1400 Old Country Rd Ste 410,
                 Westbury, NY 11590-5119
516478318      +Wage and Hour Division,     Long Island District Office,     1400 Old Country Road-Suite 410,
                 Westbury, NY 11590-5119
516508708       Wells Fargo Bank, N.A.,     C/O Wells Fargo Bank, N.A., as servicer,
                 Attn: Default Document Processing,      N9286-01Y, 1000 Blue Gentian Road,
                 Eagan, MN 55121-7700
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                               Form ID: 148                  Total Noticed: 108


516059997      +Wells Fargo Bank, N.A.,    C/O Belinda Cazares,   4101 Wiseman Blvd,      Bldg 102, 2nd Floor,
                 San Antonio, TX 78251-4200
516464657       Wells Fargo Home Mortgage,    MAC # 2303-04E,   Des Moines, IA 50306

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Jun 13 2019 00:55:21         U.S. Attorney,    970 Broad St.,
                 Room 502,    Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jun 13 2019 00:55:17          United States Trustee,
                 Office of the United States Trustee,      1085 Raymond Blvd.,    One Newark Center,     Suite 2100,
                 Newark, NJ 07102-5235
cr              EDI: GMACFS.COM Jun 13 2019 03:58:00        Ally Servicing LLC,    P.O. Box 130424,
                 Roseville, MN 55113-0004
cr             +EDI: WFFC.COM Jun 13 2019 03:58:00       Wells Fargo Bank,     MAC # - D3347-014,
                 3476 Stateview Blvd.,    Fort Mill, SC 29715-7203
516464663      +EDI: GMACFS.COM Jun 13 2019 03:58:00        Ally,   POB 380902,    Bloomington, MN 55438-0902
516493771       EDI: GMACFS.COM Jun 13 2019 03:58:00        Ally Bank Lease Trust,     PO Box 130424,
                 Roseville MN 55113-0004
516493870       EDI: GMACFS.COM Jun 13 2019 03:58:00        Ally Financial,    PO Box 130424,
                 Roseville MN 55113-0004
516016454      +EDI: GMACFS.COM Jun 13 2019 03:58:00        Ally Financial,    200 Renaissance Ctr.,
                 Detroit, MI 48243-1300
516223663       EDI: BECKLEE.COM Jun 13 2019 03:58:00        American Express Bank FSB,     c/o Becket and Lee LLP,
                 PO Box 3001,    Malvern PA 19355-0701
516219682       EDI: BECKLEE.COM Jun 13 2019 03:58:00        American Express Centurion Bank,
                 c/o Becket and Lee LLP,    PO Box 3001,     Malvern PA 19355-0701
516016455      +EDI: AMEREXPR.COM Jun 13 2019 03:58:00        Amex,   PO Box 297871,
                 Ft. Lauderdale, FL 33329-7871
516035520      +EDI: AISACG.COM Jun 13 2019 03:58:00        Ascension Capital Group,
                 Attn:BMW Financial Services NA, LLC Dept,      P.O. Box 201347,    Arlington, TX 76006-1347
516016457       EDI: BANKAMER.COM Jun 13 2019 03:58:00        Bank of America,    PO Box 982238,
                 El Paso, TX 79998
516464659       EDI: BANKAMER.COM Jun 13 2019 03:58:00        Bank of America,    POB 982235,    El Paso, TX 79998
516016460       EDI: BMW.COM Jun 13 2019 03:58:00       BMW Financial Services,     5515 Parrkcenter Circle,
                 Dublin, OH 43017
516478308       EDI: BMW.COM Jun 13 2019 03:58:00       BMW Financial Services,     Att: Bankruptcy Department,
                 PO Box 3608,    Dublin, OH 43016
516393301       EDI: BMW.COM Jun 13 2019 03:58:00       BMW Financial Services NA, LLC,      P.O. Box 3608,
                 Dublin, OH 43016
516484481      +EDI: AISACG.COM Jun 13 2019 03:58:00        BMW Financial Services LLC,     4515 N Santa Fe Ave,
                 Dept APS,    Oklahoma City, OK 73118-7901
516478309      +EDI: AISACG.COM Jun 13 2019 03:58:00        BMW Financial Services NA,     4515 N Santa Fe Ave,
                 Dept APS,    Oklahoma City, OK 73118-7901
516394069      +EDI: AISACG.COM Jun 13 2019 03:58:00        BMW Financial Services NA, LLC,     P.O. Box 201347,
                 Arlington, TX 76006-1347
516032254      +EDI: AISACG.COM Jun 13 2019 03:58:00        BMW Financial Services NA, LLC,
                 c/o Ascension Capital Group,     P.O. Box 201347,    Arlington, TX 76006-1347
516294201       EDI: BL-BECKET.COM Jun 13 2019 03:58:00        Capital One NA,    c/o Becket and Lee LLP,
                 PO Box 3001,    Malvern PA 19355-0701
516464662      +EDI: CAPITALONE.COM Jun 13 2019 03:58:00        Capital One Neiman Marcus,
                 26525 N Riverswoord Blvd,    Mettawa, IL 60045-3440
516197584      +EDI: BASSASSOC.COM Jun 13 2019 03:58:00        Cavalry SPV I, LLC,     c/o Bass & Associates, P.C.,
                 3936 E. Ft. Lowell Rd., Suite 200,     Tucson, AZ 85712-1083
516016463      +EDI: CHASE.COM Jun 13 2019 03:58:00        Chase,   PO Box 15298,    Wilmington, DE 19850-5298
516478310      +EDI: CHASE.COM Jun 13 2019 03:58:00        Chase Card Services,    Correspondence Dept.,
                 PO Box 15278,    Wilmington, DE 19850-5278
516182258       EDI: DISCOVER.COM Jun 13 2019 03:58:00        Discover Bank,    Discover Products Inc,
                 PO Box 3025,    New Albany, OH 43054-3025
516016464      +EDI: DISCOVER.COM Jun 13 2019 03:58:00        Discover Services LLC,     PO box 15316,
                 Wilmington, DE 19850-5316
516016467      +EDI: RMSC.COM Jun 13 2019 03:58:00       Gap/Synchrony Bank,     PO Box 530942,
                 Atlanta, GA 30353-0942
516016469      +E-mail/Text: bncnotices@becket-lee.com Jun 13 2019 00:54:10         Kohls,    PO Box 2983,
                 Milwaukee, WI 53201-2983
516464664      +E-mail/Text: bncnotices@becket-lee.com Jun 13 2019 00:54:10         Kohls Capital One,     POB 3120,
                 Milwaukee, WI 53201-3120
516016461       EDI: HFC.COM Jun 13 2019 03:58:00       Neiman Marcus,     PO Box 5235,
                 Carol Stream, IL 60197-5235
516016473      +EDI: WFNNB.COM Jun 13 2019 03:58:00        New York & Co.,    PO Box 659728,
                 San Antonio, TX 78265-9728
516016474      +E-mail/Text: bnc@nordstrom.com Jun 13 2019 00:54:20         Nordstrom,    PO Box 79134,
                 Phoenix, AZ 85062-9134
516016475      +EDI: RMSC.COM Jun 13 2019 03:58:00       Old Navy,    PO Box 960017,     Orlando, FL 32896-0017
516321804       EDI: PRA.COM Jun 13 2019 03:58:00       Portfolio Recovery Associates, LLC,      c/o BP,    POB 41067,
                 Norfolk VA 23541
516322560       EDI: PRA.COM Jun 13 2019 03:58:00       Portfolio Recovery Associates, LLC,      c/o Gap,
                 POB 41067,    Norfolk VA 23541
516322557       EDI: PRA.COM Jun 13 2019 03:58:00       Portfolio Recovery Associates, LLC,
                 c/o JC Penney Credit Card,     POB 41067,    Norfolk VA 23541
516322569       EDI: PRA.COM Jun 13 2019 03:58:00       Portfolio Recovery Associates, LLC,
                 c/o Old Navy Visa Card,    POB 41067,     Norfolk VA 23541
           Case 16-13291-MBK               Doc 173 Filed 06/14/19 Entered 06/15/19 00:39:31                                 Desc
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                                      Form ID: 148                       Total Noticed: 108


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
516321800       EDI: PRA.COM Jun 13 2019 03:58:00      Portfolio Recovery Associates, LLC,     c/o Qcard,
                 POB 41067,   Norfolk VA 23541
516322565       EDI: PRA.COM Jun 13 2019 03:58:00      Portfolio Recovery Associates, LLC,     c/o TJX,
                 POB 41067,   Norfolk VA 23541
516257575      +EDI: RESURGENT.COM Jun 13 2019 03:58:00      PYOD, LLC its successors and assigns as assignee,
                 of Citibank, N.A.,    Resurgent Capital Services,    PO Box 19008,    Greenville, SC 29602-9008
516016476      +EDI: RMSC.COM Jun 13 2019 03:58:00      QVC,   PO Box 530905,    Atlanta, GA 30353-0905
516183989       EDI: Q3G.COM Jun 13 2019 03:58:00      Quantum3 Group LLC as agent for,     Comenity Bank,
                 PO Box 788,    Kirkland, WA 98083-0788
516428951      +E-mail/Text: kgm@rwapc.com Jun 13 2019 00:55:50       Robert Wisniewski,
                 Att: Robert Wisniewski P.C.,    225 Broadway Suite 1020,    New York, NY 10007-3710
516464656      +E-mail/Text: bankruptcy@bbandt.com Jun 13 2019 00:55:13       Sheffield Financial,
                 6010 Golding Center Dr,    Winston Salem, NC 27103-9815
516190908       E-mail/Text: bankruptcy@bbandt.com Jun 13 2019 00:55:13       Sheffield Financial,    PO Box 1847,
                 Wilson, NC 27894-1847
516016478      +E-mail/Text: bankruptcy@bbandt.com Jun 13 2019 00:55:13       Sheffield Financial,
                 PO box 580229,    Charlotte, NC 28258-0229
516016481      +EDI: RMSC.COM Jun 13 2019 03:58:00      Syncb/Plcc,    PO Box 965024,    Orlando, FL 32896-5024
516016482      +EDI: RMSC.COM Jun 13 2019 03:58:00      Synchrony Bank,    PO Box 960090,
                 Orlando, FL 32896-0090
516016483      +EDI: RMSC.COM Jun 13 2019 03:58:00      TJX,   PO Box 530949,    Atlanta, GA 30353-0949
516464660       EDI: TFSR.COM Jun 13 2019 03:58:00      Toyota Financial Services,     POB 8026,
                 Cedar Rapids, IA 52409
516016484       EDI: TFSR.COM Jun 13 2019 03:58:00      Toyota Motor Credit,    4 Gatehall Dr., Ste. 350,
                 Parsippany, NJ 07054
516016486      +EDI: WFNNB.COM Jun 13 2019 03:58:00      Victoria’s Secret,    PO Box 659728,
                 San Antonio, TX 78265-9728
516016487      +EDI: WFFC.COM Jun 13 2019 03:58:00      Wells Fargo,    PO Box 2715,
                 Winston Salem, NC 27102-2715
516060804      +EDI: WFFC.COM Jun 13 2019 03:58:00      Wells Fargo Bank, NA,    c/o Gwen Williams,
                 301 South College Street, D1053-300,    Charlotte, NC 28202-6000
516478319      +EDI: WFFC.COM Jun 13 2019 03:58:00      Wells Fargo Home Mortgage,
                 Written Correspondance Resolutions,    MAC:2302-04E,    PO Box 10335,
                 Des Moines, IA 50306-0335
516016488      +EDI: WFFC.COM Jun 13 2019 03:58:00      Wells Fargo Home Mtg.,    PO Box 14547,
                 Des Moines, IA 50306-3547
                                                                                               TOTAL: 58

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*               Ally Financial,    PO Box 130424,    Roseville, MN 55113-0004
cr*              +Claudio Ricardo Da Costa Menezes,     Robert Wisniewski P.C.,    225 Broadway,
                   New York, NY 10007-3710
cr*              +Diego Batista-Santos,    Robert Wisniewski P.C.,    225 Broadway,    New York, NY 10007-3710
cr*              +Giancarlo Batista-Santos,    Robert Wisniewski P.C.,    225 Broadway,    New York, NY 10007-3710
cr*              +Ivonaldo Brito Andrade,    Robert Wisniewski P.C.,    225 Broadway,    New York, NY 10007-3710
cr*              +Marcio Ribeiro,    Robert Wisniewski P.C.,    225 Broadway,    New York, NY 10007-3710
cr*              +Sheffield Financial,    PO Box 1847,    Wilson, NC 27894-1847
516032257*       +BMW Financial Services NA, LLC,     c/o Ascension Capital Group,    P.O. Box 201347,
                   Arlington, TX 76006-1347
516478316*       +Kohls/Capital One,    PO Box 3120,    Milwaukee, WI 53201-3120
516016472*       +Neiman Marcus,   PO Box 5235,     Carol Stream, IL 60197-5235
516467767*        Sheffield Financial,    PO Box 1847,    Wilson, NC 27894-1847
                                                                                                 TOTALS: 0, * 11, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 14, 2019                                            Signature: /s/Joseph Speetjens
        Case 16-13291-MBK          Doc 173 Filed 06/14/19 Entered 06/15/19 00:39:31              Desc
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                              Form ID: 148                Total Noticed: 108

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 12, 2019 at the address(es) listed below:
              Albert Russo     on behalf of Trustee Albert Russo docs@russotrustee.com
              Albert Russo     docs@russotrustee.com
              Andrew M. Lubin    on behalf of Creditor    Wells Fargo Bank, N.A. bkecf@milsteadlaw.com,
               alubin@milsteadlaw.com
              Bruce H Levitt    on behalf of Joint Debtor Lisa Rossi blevitt@levittslafkes.com,
               sslafkes@levittslafkes.com;lspcattorneys@gmail.com;hbr69524@notify.bestcase.com;lsbankruptcynotic
               es@gmail.com
              Bruce H Levitt    on behalf of Debtor Michael Joseph Agolia blevitt@levittslafkes.com,
               sslafkes@levittslafkes.com;lspcattorneys@gmail.com;hbr69524@notify.bestcase.com;lsbankruptcynotic
               es@gmail.com
              Charles G. Wohlrab    on behalf of Creditor    Wells Fargo Bank, N.A. cwohlrab@logs.com,
               njbankruptcynotifications@logs.com
              Francesca Ann Arcure    on behalf of Creditor    Toyota Motor Credit Corporation
               NJ_ECF_Notices@McCalla.com, NJ_ECF_Notices@McCalla.com
              Jason Brett Schwartz    on behalf of Creditor    Financial Services Vehicle Trust (FSVT)
               jschwartz@mesterschwartz.com
              John R. Morton, Jr.    on behalf of Creditor    Ally Financial ecfmail@mortoncraig.com,
               mortoncraigecf@gmail.com
              John R. Morton, Jr.    on behalf of Creditor    Ally Servicing LLC ecfmail@mortoncraig.com,
               mortoncraigecf@gmail.com
              Mark A Wenczel    on behalf of Creditor   Kearny Bank mwenczel@gpmlegal.com
              Michael A. Artis    on behalf of U.S. Trustee    United States Trustee michael.a.artis@usdoj.gov
              Robert Wisniewski     on behalf of Plaintiff Ivonaldo Brito Andrade rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski     on behalf of Plaintiff Giancarlo Batista-Santos rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski     on behalf of Plaintiff Claudio Ricardo Da Costa Menezes rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski     on behalf of Plaintiff Diego Batista-Santos rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski     on behalf of Plaintiff Marcio Ribeiro rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              United States Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                               TOTAL: 18
